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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
-------------------------------------------------------------------------X
PAMELLA CORTES, LETICIA GONZALEZ and                                     :
ARIANA REYES, on behalf of themselves and                                :
all others similarly situated,                                           :
                                                                         :
                  Plaintiffs,                                            :
                                                                         :
                              -against-                                  :    17 Civ. 03942 (RER)
                                                                         :
JUQUILA MEXICAN CUISINE CORP. d/b/a                                      :
JUQUILA MEXICAN CUISINE, JUQUILA KITCHEN :
AND BAR CORP. d/b/a JUQUILA KITCHEN & BAR, :
TEOFILA MENDEZ, and CRISTOBAL BONILLA,                                   :
                                                                         :
                  Defendants.                                            :
-------------------------------------------------------------------------X
               PLAINTIFFS’ POST-INQUEST DAMAGES CALCULATIONS

        Based on the evidence entered in this matter, Plaintiffs Pamella Cortes, Leticia

Gonzalez, Ariana Reyes, Lucia Isabel Rivera, and Blanca Nelly Ayala (collectively,

“Plaintiffs”) respectfully request that the Court award damages to each of the Plaintiffs

in accordance with the following information.

1. Relevant Facts from Inquest

    a) Plaintiff Pamella Cortes

    (1) Plaintiff Pamella Cortes (“Cortes”) worked for Defendants from January 2016 to
        July 2016. (Tr. 58:24-59:3).1

    (2) Cortes worked as a waitress while employed by Defendants. (Tr. 58:6-7).

    (3) Defendant Teofila Mendez (“Mendez”) hired Cortes to work at Juquila Mexican
        Cuisine Corp. d/b/a Juquila Mexican Cuisine. (Tr. 61:5-6).

    (4) Cortes was paid $4.50 per hour. (Tr. 61:14-62:13).

    (5) From January 2016 to in or about April 2016, Cortes regularly worked six days
        per week during the overnight shift, from approximately 11:00 p.m. to 6:00 a.m.
        (Tr. 59:10-24).

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 All references herein to “Tr. ____,” are to specific pages and lines of the transcript of this case’s inquest
testimony.
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  (6) From in or about mid-April 2016 to July 2016, Cortes was regularly scheduled to
      work six days per week during the daytime shift, from approximately 9:00 a.m.
      to 5:00 p.m., and/or during the evening shift, from approximately 5:00 p.m. to
      11:00 p.m. (Tr. 59:25-60:6).

  (7) From in or about mid-April 2016 to July 2016, Cortes was scheduled to work
      double shifts approximately once or twice a week, which consisted of working
      the daytime shift from 9:00 a.m. to 5:00 p.m. and the evening shift from 5:00 p.m.
      to 11:00 p.m. (Tr. 60:7-17).

  (8) On the occasions that Cortes was scheduled to work from 9:00 a.m. to 5:00 p.m.,
      she actually worked from approximately 8:30 a.m. to 6:00 p.m. because
      Defendants required employees to arrive before the start of the shift and work
      past the end of the scheduled shift. (Tr. 64:2-25).

  (9) Cortes was only paid for the scheduled hours of the shift, not the actual hours
      that she worked, e.g. from 9:00 a.m. to 5:00 p.m. rather than from 8:30 a.m. to 6:00
      p.m. (Tr. 65:3-7).

  (10) Cortes was paid in cash throughout her employment. (Tr. 66:19-20).

  (11) Cortes was paid in cash without any accompanying paystub or any written
      documentation listing, inter alia, the hours she worked and wages she was being
      paid. (Tr. 66:21-25).

  (12) Cortes did not receive any documents from Defendants at the time of her hiring
      or anytime thereafter listing, inter alia, her rate of pay. (Tr. 61:7-13).

  (13) Cortes was not paid an additional hour of pay at the full minimum wage rate
      when she worked more than ten hours in one day. (Tr. 66:16-18).

  (14) Cortes learned, during her employment, that male servers were being paid more
      than she and the other female servers were being paid. Male servers received
      payment of $5.50 per hour, instead of $4.50 per hour. (Tr. 68:8-20).

  (15) Cortes purchased four blouses from Defendants that she was required to wear
      as a uniform while employed by Defendants which cost her a total of $90.00. (Tr.
      69:10-70:2).

  (16) Defendants did not provide laundering services and laundry money for the
      blouses that Cortes purchased and was required to wear. (Tr. 70:3-6).

  (17) Cortes was required to pay the bill for customers she served that left the
      restaurant without paying, as well as pay for food or drinks that customers
      returned to the kitchen. In total, Cortes paid approximately $360: about $280 for
      food and $80 for beverages. (Tr. 72:17-75:15).




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    (18) Defendant Mendez retained a portion of Cortes’ tips on a regular basis. When
        Cortez worked Saturday and Sunday, she would make approximately $300 in
        tips and Mendez would pay her about $120. (Tr. 82:21-83:10). During the week,
        Cortes would make approximately $80 per day in tips and she would only
        receive approximately $50-55. (Tr. 83:16-24).

    b) Plaintiff Leticia Gonzalez

    (1) Plaintiff Leticia Gonzalez (“Gonzalez”) worked for Defendants from mid-
        September 2015 to December 17, 2016. (Tr. 21:6-7).

    (2) Gonzalez worked as a server for the majority of her time working for
        Defendants, but also worked as a cashier during approximately her last two
        months of employment. (Tr. 21:18-21).

    (3) Gonzalez was paid $4.50 per hour when she worked as a server. (Tr. 21:13-17;
        24:18-19).

    (4) Gonzalez was paid $80-90 per shift when she worked as a cashier and the shift
        that she worked was from approximately 10:00 p.m. to 7:30 or 8:00 a.m. (Tr.
        21:22-22:1).

    (5) Gonzalez worked five to seven days per week while employed by Defendants.
        (Tr. 22:19-23).

    (6) During her first two weeks of employment Gonzalez was scheduled to work five
        days per week during the daytime shift, which was from approximately 9:00 a.m.
        to 5:00 p.m. During the remainder of her employment she was generally
        scheduled to work the overnight shift. (Tr. 23:6-21).

    (7) In or about the month of October 2015, Gonzalez was scheduled to work six days
        per week during the overnight shift, from approximately 11:00 p.m. to 6:00 a.m.
        (Tr. 23:8-21).2

    (8) In or about November 2015, Gonzalez was scheduled work seven days per week
        during the overnight shift, from approximately 11:00 p.m. to 6:00 a.m. She
        worked this schedule until in or about April 2016. (Tr. 23:22-23:1, 22:19-23).

    (9) From approximately April 2016 to December 2016, Gonzalez regularly worked
        the overnight shift six days per week. (Tr. 24:4-9).

    (10) Defendants regularly required employees, including Gonzalez, to arrive before
        the start of the shift and work past the end of the scheduled shift. (Tr. 22:4-18).



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  Throughout her testimony, Gonzalez testified that the overnight shift that she worked started at 10:00
p.m. In fact, the overnight shift started at 11:00 p.m. for all servers employed by Defendants. Gonzalez
stated the incorrect shift start time.


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  (11) Gonzalez was only paid for the hours that she was scheduled to work, not the
      actual hours that she worked. (Tr. 26:18-27:22; 28:15-29:6).

  (12) Gonzalez was paid in cash throughout her employment. (Tr. 24:24-25).

  (13) Throughout the majority of her employment, Gonzalez was paid in cash
      without any accompanying paystub or any written documentation listing, inter
      alia, the hours she worked and wages she was being paid. During the final weeks
      of her employment she received a receipt showing the hours that she had been
      scheduled to work, but nothing further. (Tr. 25:1-3).

  (14) Gonzalez did not receive any documents from Defendants at the time of her
      hiring or anytime thereafter listing, inter alia, her rate of pay. (Tr. 21:13-17).

  (15) Gonzalez was not paid an additional hour of pay at the full minimum wage rate
      when she worked more than ten hours in one day. (Tr. 24:15-17).

  (16) Gonzalez purchased eight blouses from Defendants that she was required to
      wear as a uniform while employed by Defendants which cost her a total of
      approximately $130 ($20 for five blouses and $10 for three blouses). (Tr. 32:2-23,
      33:4-9).

  (17) Defendants did not provide laundering services and laundry money for the
      blouses that Gonzalez purchased and was required to wear. (Tr. 32:24-33:3).

  (18) Gonzalez was required to pay the bill for customers she served that left the
      restaurant without paying, as well as pay for food or drinks that customers
      returned to the kitchen. In total, Gonzalez paid approximately $400-500. (Tr.
      33:10-34:17).

  (19) Gonzalez did not always receive the tips left for her by customers. (Tr. 35:13-
      36:24).

  (20) Gonzalez was not paid at all for her last four days of work. (Tr. 26:22-27:6).

  c) Plaintiff Ariana Reyes

  (1) Plaintiff Ariana Reyes (“Reyes”) worked for Defendants from July 2016 to March
      2017. (Tr. 89:16-17).

  (2) Reyes was paid $4.50 per hour. (Tr. 90:18-19; 91:2-4).

  (3) Reyes generally worked five to six days per week while employed by
      Defendants. (Tr. 91:12-13).

  (4) During three weeks of Reyes’ final month of employment, she worked four days
      per week and in her final week of employment, she worked three days. (Tr.
      105:6-20).



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  (5) From July 2016 to November 2016, Reyes regularly worked the daytime or
      evening shifts, i.e. from 9:00 a.m. to 5:00 p.m. and/or from 5:00 p.m. to 11:00 p.m.
      (Tr. 106:11-16).

  (6) From July 2016 to November 2016, Reyes worked the overnight shift
      approximately two times per month when she was covering a shift for another
      employee. (Tr. 106:24-107:5).

  (7) From December 2016 to March 2017, Reyes worked the overnight shift, which
      was scheduled from 11:00 p.m. to 6:00 a.m. (Tr. 106:1-10).

  (8) Reyes generally worked five days per week three weeks per month and six days
      per week one week per month. (Tr. 91:24-92:4).

  (9) Reyes worked double shifts, the 5:00 p.m. to 11:00 p.m. shift and the 11:00 p.m. to
      6:00 a.m. shift, approximately twice per month. (Tr. 92: 5-12).

  (10) Reyes was only paid for the hours that she was scheduled to work, not the
      actual hours that she worked. (Tr. 93:15-94:15).

  (11) Reyes was regularly required to work one to two hours past the end of her
      scheduled shift when she worked the overnight shift, which was scheduled from
      11:00 p.m. to 6:00 a.m. On those days she worked until 6:00 or 7:00 a.m. (Tr.
      92:13-24).

  (12) Reyes was required to arrive to work about twenty minutes before the start of
      her scheduled shift but was not paid for any time worked before the shift start
      time. For example, when scheduled to work from 9:00 a.m. to 5:00 p.m., she
      would arrive about twenty minutes before the shift started but would only be
      paid as of 9:00 a.m. (Tr. 93:20-94:2).

  (13) When Reyes worked the daytime shift, scheduled from 9:00 a.m. to 5:00 p.m.,
      she usually worked up to two hours past the end of the shift until about 7:00
      p.m., but was only paid until 5:00 p.m. (Tr. 94: 7-15).

  (14) Reyes was paid in cash throughout her employment. (Tr. 96:7-8).

  (15) Throughout her employment, Reyes was paid in cash without any
      accompanying paystub or any written documentation listing, inter alia, the hours
      she worked and wages she was being paid. (Tr. 96:16-18; 104:16-105:4).

  (16) Reyes did not receive any documents from Defendants at the time of her hiring
      or anytime thereafter listing, inter alia, her rate of pay. (Tr. 90:10-15).

  (17) Reyes was not paid an additional hour of pay at the full minimum wage rate
      when she worked more than ten hours in one day. (Tr. 95:18-20).




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  (18) Reyes learned, during her employment, that male servers were being paid more
      than she and the other female servers were being paid. Male servers received
      payment of $5.50 per hour, instead of $4.50 per hour. (Tr. 95:21-96:4).

  (19) Reyes purchased five blouses from Defendants that she was required to wear as
      a uniform while employed by Defendants, which cost her a total of
      approximately $100. (Tr. 97:4-98:2).

  (20) Defendants did not provide laundering services and laundry money for the
      blouses that Reyes purchased and was required to wear. (Tr. 98:3-7).

  (21) Reyes was required to pay the bill for customers she served that left the
      restaurant without paying, as well as pay for food or drinks that customers
      returned to the kitchen. This generally occurred more than once a week and the
      bills she had to pay were approximately $30-40. (Tr. 98:8-99:3).

  (22) Reyes did not always receive the tips left for her by customers. (Tr. 99:11-100:4).

  (23) Reyes was not paid any wages during her one day of training at the start of her
      employment, which lasted from approximately 9:00 a.m. to 6:00 p.m. (Tr. 101:5-
      18).

  d) Plaintiff Blanca Nelly Reyes Ayala

  (1) Plaintiff Blanca Nelly Reyes Ayala (“Ayala”) worked for Defendants from May
      2016 to July 2017 (Tr. 5:17-18).

  (2) Ayala was paid $4.50 per hour from the start of her employment through
      approximately June 2017 and then was given a raise to $7.50 per hour. (Tr. 6:2-5;
      18:18-24); see also Inquest Exhibits 1 and 2.

  (3) Ayala generally worked five to six days per week while employed by Defendants
      and kept contemporaneous notes throughout her employment listing her
      scheduled workdays. (Tr. 7:4-18); see also Inquest Exhibits 1 and 2.

  (4) The notes kept by Ayala listed the hours that she was scheduled to work, not the
      hours that she actually worked. (Tr. 8:17-21).

  (5) When Ayala was scheduled to work the daytime shift, scheduled from 9:00 a.m.
      to 5:00 p.m., she was required to arrive to work by approximately 8:30 a.m. (Tr.
      11:1-11).

  (6) When Ayala was scheduled to work until 11:00 p.m. she was required to work
      about an hour longer, until approximately 12:00 a.m. (Tr. 7:1-3).

  (7) Ayala was paid in cash throughout her employment. (Tr. 13:24-25).




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  (8) Throughout her employment, Ayala was paid in cash without any
      accompanying paystub. She only received a receipt that listed the hours that she
      worked. (Tr. 14:3-18); Exhibit 11.

  (9) Ayala did not receive any documents from Defendants at the time of her hiring
      or anytime thereafter listing, inter alia, her rate of pay. (Tr. 5:24-6:1).

  (10) Ayala was not paid an additional hour of pay at the full minimum wage rate
      when she worked more than ten hours in one day. (Tr. 19:4-6).

  (11) Ayala learned, during her employment, that male servers were being paid more
      than she and the other female servers were being paid, allegedly because the
      male servers had more experience. (Tr. 12:17-13:7).

  (12) Ayala purchased five blouses from Defendants that she was required to wear as
      a uniform while employed by Defendants, which cost her a total of
      approximately $100. (Tr. 11:18-12:7).

  (13) Defendants did not provide laundering services and laundry money for the
      blouses that Ayala purchased and was required to wear. (Tr12:8-13).

  (14) Ayala was required to pay the bill for customers she served that left the
      restaurant without paying, as well as pay for food or drinks that customers
      returned to the kitchen. In total, Ayala had to pay an approximate total of $310.
      (Tr. 15:22-17:25).

  (15) Ayala did not always receive the tips left for her by customers. (Tr. 18:6-17).

  (16) Ayala was fired after the filing of the instant lawsuit. Defendants said that she
      could no longer work there because she was friends with the plaintiffs and
      because she was pregnant. (Tr. 15:12-18).

  e) Plaintiff Lucia Rivera

  (1) Plaintiff Lucia Rivera (“Rivera”) worked for Defendants from September 19, 2016
      to April 2017. (Tr. 39:1-4).

  (2) Rivera was paid $4.50 per hour. (Tr. 42:2-3).

  (3) Rivera generally worked six days per week while employed by Defendants. (Tr.
      40:25-41:3).

  (4) Rivera regularly worked up to an hour past the end of her scheduled shift. (Tr.
      40:15-17).

  (5) Rivera was regularly required to arrive up to thirty minutes before the start of
      her scheduled shift. (Tr. 40:18-24).




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  (6) During her first week of employment, Rivera worked five days per week during
      the daytime shift which was scheduled from 9:00 a.m. to 5:00 p.m. (Tr. 41:6-9).

  (7) For approximately the next five weeks, i.e. the remainder of September and all of
      October 2016, Rivera worked six days per week during the daytime shift which
      was scheduled from 9:00 a.m. to 5:00 p.m. She also sometimes worked the
      evening shift, scheduled from 5:00 p.m. to 11:00 p.m. (Tr. 41:6-12).

  (8) Starting in November 2016, Rivera worked the overnight shift, scheduled from
      11:00 p.m. to 6:00 a.m. (Tr. 41:7-12).

  (9) Rivera was regularly required to work until about 7:10 or 7:20 a.m. when she
      worked the overnight shift. (Tr. 41:18-23).

  (10) Rivera was only paid for the hours that she was scheduled to work, not the
      actual hours that she worked. (Tr. 43:6-9).

  (11) Rivera was paid in cash throughout her employment. (Tr. 42:14-15, 51:8-9).

  (12) Throughout her employment, Rivera was paid in cash without any
      accompanying paystub or any written documentation listing, inter alia, the hours
      she worked and wages she was being paid. (Tr. 42:16-18, 51:10-23).

  (13) Rivera did not receive any documents from Defendants at the time of her hiring
      or anytime thereafter listing, inter alia, her rate of pay. (Tr. 51:13-52:7).

  (14) During her employment, Rivera spoke to a male server and learned that he and
      the other male servers were being paid more than she and the other female
      servers were being paid. (Tr. 43:13-25).

  (15) Rivera purchased four or five blouses from Defendants that she was required to
      wear as a uniform while employed by Defendants, which cost her a total of
      approximately $95. (Tr. 44:22-45:19).

  (16) Defendants did not provide laundering services and laundry money for the
      blouses that Rivera purchased and was required to wear. (Tr. 45:20-23).

  (17) Rivera was required to pay the bill for customers she served that left the
      restaurant without paying. She estimates that during her employment she paid
      approximately $80. (Tr. 45:24-46:22).

  (18) Rivera believes that Defendants sometimes misappropriated the credit card tips
      left for her. (Tr. 49:1-16).

  (19) Rivera did not receive any wages for her final week of work. (Tr. 42:25-43:5).




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    f) Proposed Findings of Fact Regarding Defendants

    (1) Juquila Mexican Cuisine Corp. is a New York corporation that does business as
        the restaurant, Juquila Mexican Cuisine (“Juquila”). See Complaint, ¶133; Inquest
        Exhibit 17.

    (2) Defendants Cristobal Bonilla (“Bonilla”) and Teofila Mendez (“Mendez”)4 were
        owners of Juquila during Plaintiffs’ employment. (Tr. 4:23-5:1; 20:17-21:5, 39:9-12,
        39:16-20, 60:22-61:1, 89:21-25); Complaint ¶¶ 32, 39.

    (3) Mendez was Plaintiffs employer and she exercised the authority to hire and fire
        employees, set wages, and establish and exercise authority regarding the
        managerial and administrative practices at the restaurant. (Tr. 5:22-23, 21:11-12,
        42: 6-13, 61: 5-6, 50:1-6, 90:4-5, 99:11-19, 100:22-101:4, 103:6-104:2); Complaint ¶¶
        33-38.

    (4) Bonilla was Plaintiffs employer and he exercised the authority to hire and fire
        employees, set wages, and establish and exercise authority regarding the
        managerial and administrative practices at the restaurant. (Tr. 15:12-16, 29:7-12,
        37:14-16, 45: 2-5, 86: 15-22); Complaint ¶¶ 40-44.

    (5) Upon information and belief, for each of the three years prior to the filing of the
        Complaint, Juquila Mexican Cuisine Corp. had an annual gross volume of sales
        in excess of $500,000. (Tr. 108:10-23), Inquest Exhibit 17, Complaint ¶16.

2. Damages Calculations

          A detailed calculation of each Plaintiff’s individual damages calculations is

attached as Exhibit A.5 In light of Defendants’ failure to provide complete and accurate

time and pay records, Plaintiffs must produce only “sufficient evidence to show the

amount and extent of that work as a matter of just and reasonable inference” to

establish their hours and pay. Anderson v. Mt. Clemens Pottery Co., 328 U.S. 680, 687

(1946).




3
  All references herein to “Complaint, ¶___,” are to specific paragraphs of the Complaint filed in this
action on June 30, 2017 (ECF No. 1).
4
  Defendant Teofila Mendez is referred to as Rosa throughout the inquest proceedings. Teofila and Rosa
Mendez are one and the same. (Tr. 5:2-7, 20:19-25, 39:13-15, 61:1-4, 90:1-3).
5
  The damages calculations provided as Exhibit A show the liquidated damages that would be due under
the FLSA, but only NYLL liquidated damages are included in the total.


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   a) Minimum Wage Damages

       For minimum wage violations, Plaintiffs are entitled to the difference between

the New York State statutory minimum wage rate and the effective hourly rate

Defendants actually paid Plaintiffs, for all hours worked up to forty in each workweek

during their employment at Juquila. 29 U.S.C. § 206; NYLL § 652; 12 N.Y.C.R.R. Part

146.

       Plaintiffs are owed the difference between the full minimum wage at the time of

their employment, and the payment of that they received. Plaintiffs were all paid $4.50

per hour during their employment but also, Plaintiffs Gonzalez and Ayala received a

higher rate of pay during part of their employment. See §§ 1(a)(6), 1(b)(3)-(4), 1(c)(2),

1(d)(2), 1(e)(2). Furthermore, Defendants shaved time from Plaintiffs’ wages, only

paying them for their scheduled hours, not the actual hours they worked each week.

See §§ 1(a)(9), 1(b)(10)-(11), 1(c)(11)-(12), 1(d)(5)-(6), 1(e)(4)-(5). Plaintiffs testified that

they began work approximately 20-30 minutes before they scheduled shift and worked

one to two hours past the end of their scheduled shift times. Id. For the purposes of the

damages calculations, we estimated that the Plaintiffs each worked 1.5 hours more than

they were scheduled to work each day. Also, when estimating the hours worked by

Plaintiffs who asserted to have one of two different schedules, we found the average

between the two totals and used that number (e.g. From in or about mid-April 2016 to

July 2016, Cortes stated that she was scheduled to work six days per week during the

daytime shift, from approximately 9:00 a.m. to 5:00 p.m. (a total of 48 hours), or six days

per week during the evening shift, from approximately 5:00 p.m. to 11:00 p.m. (a total of

36 hours). The average of the two schedules is 42 hours per week, which is what was

used for the calculations. For Plaintiff Ayala, we based the calculation of hours worked

on her testimony and the information in Inquest Exhibits 1 and 2.


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   b) Overtime Wage Damages

       Under the Fair Labor Standards Act (“FLSA”) and New York Labor Law

(“NYLL”), Plaintiffs are entitled to overtime compensation one and one half (1½) times

their regular hourly rate for each hour beyond forty per week. Plaintiffs were not paid

above their regular hourly rate for the hours that they worked over forty. Therefore, for

every week that they worked more than forty hours, they are owed the difference

between the applicable overtime wage rate at the time of their employment and the

payment that they actually received. See 29 U.S.C. § 207(a); 12 N.Y.C.R.R. § 146-1.4.


   c) Spread-of-Hours Wage Damages

       Plaintiffs are entitled to spread-of-hours pay, i.e. one additional hour of pay at

the basic minimum wage rate, for the days on which their shift spread more than ten

hours, including break time. 12 N.Y.C.R.R. § 146-1.6. Plaintiffs did not receive any

spread-of-hours pay when employed by Defendants. See §§ 1(a)(13), 1(b)(15), 1(c)(16),

1(d)(9), 1(e)(13); Complaint ¶¶ 59, 73, 83. For the purposes of the damages calculations,

we assumed that Plaintiffs were entitled to spread-of-hours pay whenever they worked

a double shift. For Plaintiff Ayala, we allocated spread-of-hours based on the hours

listed in Inquest Exhibits 1 and 2.


   d) NYLL Wage Theft Prevention Act: Wage Notice Damages

       Defendants failed to provide Plaintiffs with written notice containing the

information set forth in NYLL § 195(1)(a). See §§ 1(a)(12), 1(b)(14), 1(c)(2), 1(d)(2),

1(e)(2). The wage notice requirement went into effect on April 9, 2011 and permitted

recovery of $50 per week with a cap of $2,500. NYLL § 198(1-b). The provision was

later amended to allow $50 per workday with a cap of $5,000 for violations after


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February 27, 2015. Id. Because such notice was not provided to Plaintiffs, they are

entitled to recover the maximum of $5,000 each for not receiving a wage notice upon

hiring. or whenever their pay rate changed thereafter. See §§ 1(a)(13), 1(b)(15), 1(c)(16),

1(d)(9), 1(e)(13); Complaint ¶¶ 61, 75, 85.

   e) NYLL Wage Theft Prevention Act: Wage Statement Damages

       Defendants violated the wage statement provision of the NYLL by failing to

provide Plaintiffs with a written statement with each payment of wages containing the

information set forth in NYLL § 195(3)(a). Following the amendment to NYLL § 198(1-b)

in February 2015, the law entitles employees to recover liquidated damages of $250 per

workweek that the violation occurred, up to a maximum of $5,000. Plaintiffs are each

entitled to the maximum statutory damages of $5,000 each. See §§ 1(a)(11), 1(b)(13),

1(c)(15), 1(d)(8), 1(e)(12); Complaint ¶¶ 60, 74, 84.

   f) NYLL & Supporting Regulations: Unlawful Deductions

       Plaintiffs were each required to purchase embroidered blouses to wear as part of

their uniform when they worked. They are entitled to reimbursement of the costs to

purchase, launder, and maintain their uniforms. NYLL § 193. For the purposes of the

damages calculations, we credited each Plaintiff with the amount that they each

remember paying for the uniform items.

       Defendants’ had a policy that required servers to pay the restaurant if a customer

left without paying the bill or returned food to the kitchen. Plaintiffs each had to pay

different amounts to cover customer bills and/or returns. Plaintiffs are entitled to

reimbursement of the monies deducted from their wages to cover non-payment by

customers and meals returned to the kitchen. NYLL § 193. For the purposes of the

damages calculations, we included the estimates made by each Plaintiff but in the case

of Plaintiff Reyes who could not remember, we calculated the average of the amounts


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estimated by each of the other Plaintiffs and determined that she paid approximately

$300.00 during her employment.

       Plaintiffs are entitled to the gratuities left for them by customers during their

shifts but retained by Defendants. NYLL § 196-d. Plaintiffs all believe that some

amount of their gratuities was kept by Defendants rather than distributed to them. For

the purposes of the damages calculations, we used Plaintiff Cortes’ estimates for all

Plaintiffs. § 1(a)(18) and estimated $120 estimated gratuities misappropriated during

the weekend shifts and $25 in gratuities misappropriated each weekday shift. For

example, a Plaintiff who worked five days would be owed $195.

   g) NYLL Liquidated Damages

       For violations of the NYLL, including minimum and overtime wages, spread-of-

hours violations, and reimbursement of unlawful deductions and withheld gratuities,

employees are presumed entitled to an equal amount in liquidated damages. NYLL §

663. Note that FLSA liquidated damages were calculated for illustrative purposes but

were not included in the damages total.

   h) Equal Pay Act Damages

       Male servers at Juquila were paid more than Plaintiffs were paid. See §§ 1(a)(14),

1(c)(18), 1(d)(11), 1(e)(14). Plaintiffs are entitled to damages pursuant to the Equal Pay

Act (“EPA”) because Defendant paid the Plaintiffs at a lower wage rate than their male

counterparts based solely on their sex, in violation of the FLSA as amended by the EPA.

29 U.S.C. § 206(d). Defendant Mendez’s claim that the male servers were paid more

due to their experience and English- speaking abilities was pre-text and inaccurate. In

fact, at least two Plaintiffs testified to having similar experience and Plaintiff Cortes also

speaks English fluently. (Tr. 13:3-23, 68:16-69:9). Plaintiffs are therefore entitled to

these “amounts . . . which have been withheld” as if they were “unpaid minimum


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wages or unpaid overtime compensation” under the FLSA. Id. In other words,

Plaintiffs’ EPA damages include the $1 pay differential, liquidated damages, attorneys’

fees, and costs. Id. § 216; Lavin-McEleney v. Marist Coll., No. 96-CV-4081, 1999 WL

33500070, at *2 n.1 (S.D.N.Y. Sept. 28, 1999) (noting that FLSA remedies are available for

EPA violations).

       At the inquest, the Court inquired as to whether EPA damages could be awarded

in addition to the difference between their wages and the applicable statutory minimum

wage rate when both Plaintiffs and their male counterparts were receiving less than the

minimum wage rate. Counsel could not find any case law on point. However, a review

of the legislative history of the EPA suggests that Plaintiffs may recovery EPA damages

in addition to the minimum wages sought in § 2(a), supra.

       “‘Although the Equal Pay Act and the minimum wage provisions of the FLSA are

located in the same section, [under subsections (a) and (d) of Section 206,] they are

distinct provisions with different goals.’” Perdue v. City Univ. of New York, 13 F. Supp. 2d

326, 340–41 (E.D.N.Y. 1998) (quoting Timmer v. Michigan Dep't of Commerce, 104 F.3d 833,

843 (6th Cir. 1997)). Whereas the FLSA sought to insure that workers receive an amount

of wages “Congress deems to be the minimum necessary for decency and basic human

needs,” “[t]he objective of [the EPA] [w]as to insure that those who perform tasks which

are determined to be equal shall be paid equal wages,” Senate Rep. 176-88, at 1 (1963).

Congress bootstrapped the EPA’s prohibition of sex-based pay discrimination onto the

FLSA framework solely for administration efficiency, in order to “eliminate the need for

a new bureaucratic structure.” H.R. Rep. No. 309-88, at 2 (1963) (noting that “a simple

expansion of that act to include the equal pay concept offers the most efficient and least

difficult course of action.”) There is no indication from the EPA’s legislative history that

Congress sought to substantively limit a discriminatee’s recovery of the pay differential


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by incorporating it within the FLSA structure or by labeling such a differential as

“minimum wages” to be recovered. Indeed, to do so would also limit the efficacy of the

pay discrimination prohibition in debunking the “ancient but outmoded belief that a

man, because of his role in society, should be paid more than a woman even though his

duties are the same.” Senate Rep. 176-88, at 1. Accordingly, the minimum wages due

under the EPA may be added to any minimum wages awarded pursuant to 29 U.S.C.

§ 206(a).

        Even if the Court awards Plaintiffs minimum wages under the higher state law

minimum wage rate for Plaintiffs’ First and Second Claims in the Complaint, that does

not preclude a separate, additional award of so-called “minimum wages” under the EPA.

Generally, to prevent double recovery “for the same injury,” courts will award damages

“under the statute providing the greatest amount of relief.” Gamero v. Koodo Sushi Corp.,

272 F. Supp. 3d 481, 498 (S.D.N.Y. 2017), aff'd, 752 F. App’x 33 (2d Cir. 2018) (citations and

internal quotation marks omitted). In other words, where a plaintiff establishes that her

employer paid her less than the statutory minimum wage under both the FLSA and the

NYLL, the higher wage rate will be applied in calculating damages. See id. However,

because Plaintiffs’ EPA claim is for a different injury—discrimination as opposed to wage

theft—the “greater relief” principle does not preclude an award of damages for minimum

and overtime wages under the NYLL and EPA damages under the FLSA’s framework.6




6
  Although the FLSA deems EPA damages to be “unpaid minimum or unpaid overtime compensation,”
that is only “[f]or purposes of administration and enforcement.” 29 U.S.C. § 206(d). Rather than amend
Section 216 to reference EPA discrimination damages, Section 206(d) triggers its remedies by simply using
the same nomenclature to describe the EPA discrimination damages. Because the characterization of
discrimination damages as damages for unpaid wages is not substantive, and due to the different goals of
the legislations, damages under the EPA should be considered as remedying a different injury than the
minimum and overtime provisions of the FLSA and NYLL for purposes of calculating damages.


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       Plaintiffs concede, however, that liquidated damages may be awarded only under

either the FLSA or the NYLL because, as the Second Circuit opined, they serve the same

“dual punitive and compensatory” functions. Chowdhury v. Hamza Express Food Corp.,

666 F. App’x 59, 61 (2d Cir. 2016).

   i) Pre-judgment Interest Due

       Plaintiffs are entitled to 9% annual pre-judgment interest on the wages owed to

them. N.Y. C.P.L.R. § 5004; see also Fu v. Pop Art Int’l, Inc., 10 Civ. 8562 (S.D.N.Y. Dec. 6,

2011) (holding that prejudgment interest may be awarded in addition to liquidated

damages for violations of the NYLL).

   j) Post-judgment Interest Due

       Pursuant to 28 U.S.C. § 1961, “interest shall be allowed on any money judgment in

a civil case recovered in a district court” and should therefore be granted in any judgment

rendered in Plaintiffs’ favor.

   k) Attorneys’ Fees and Costs

       Plaintiffs are entitled to reasonable attorneys’ fees and costs incurred in

prosecuting this action. 29 U.S.C. § 216(b); NYLL §§ 198(1-b), (1-c), 651.




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                                    CONCLUSION

      For the foregoing reasons, Plaintiffs respectfully request that the Court issue a

judgment in Plaintiffs’ favor against Defendants in the amount of $252,123.48 plus pre-

and post-judgment interest and attorneys’ fees and costs.

Dated: New York, New York
       November 26, 2019

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